           Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 1 of 26



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA, et al.,

                            Plaintiffs,
                                            No. 1:21-cv-410-DKC
v.

PETER FRANCHOT,

                            Defendant.



                      PLAINTIFFS’ REPLY IN SUPPORT OF THEIR
                  CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

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           Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 2 of 26



                                                TABLE OF CONTENTS
Introduction .................................................................................................................... 1
Argument ........................................................................................................................ 1
I.    The Court has authority to hear this case .................................................................. 1
      A. The controversy is ripe ....................................................................................... 1
      B. The TIA does not bar plaintiffs’ challenge to the Act’s assessment ..................... 2
            1.    CIC Services did not silently abrogate a century of settled precedent ............ 2
            2. An exaction that punishes legislatively disapproved conduct is not a
               tax under the TIA, even if the disapproved conduct is lawful ....................... 5
            3. A multiplicity of state refund actions spanning many years would not
               be an “efficient” alternative to this single pre-enforcement challenge ......... 8
      C. The TIA does not bar plaintiffs’ challenge to the pass-through provision .......... 12
      D. ITFA is privately enforceable under Ex Parte Young and Section 1983 ............. 13
II. Plaintiffs are entitled to judgment on the merits ...................................................... 15
      A. The Act is preempted by ITFA .......................................................................... 15
      B. The Act violates the dormant Commerce Clause and Due Process Clause ......... 17
      C. The pass-through prohibition is unconstitutional .............................................. 19
      D. The Court can and should enter judgment now ................................................. 20




                                                                i
           Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 3 of 26



                                              TABLE OF AUTHORITIES

Cases
Aloha Airlines v. Director of Taxation of Hawaii,
    464 U.S. 7 (1983) .......................................................................................................... 17
Ankenbrandt v. Richards,
    504 U.S. 689 (1992) ....................................................................................................... 6
Armstrong v. Exceptional Child Center, Inc.,
    575 U.S. 320 (2015) ...................................................................................................... 13
Bailey v. Drexel Furniture Co.,
    259 U.S. 20 (1922).................................................................................................. passim
Bailey v. George,
    259 U.S. 16 (1922) .......................................................................................................... 6
Baltimore v. Priceline.com,
    2012 WL 3043062 (D. Md. July 24, 2012).................................................................... 16
BellSouth Telecommunications, Inc. v. Farris,
    542 F.3d 499 (6th Cir. 2008) .................................................................................. 13, 20
CareFirst, Inc. v. Taylor,
    235 F. Supp. 3d 724 (D. Md. 2017) ................................................................................ 14
Central Green Co. v. United States,
    531 U.S. 425 (2001) ........................................................................................................ 4
CIC Services v. IRS,
    141 S. Ct. 1582 (2021) ............................................................................................. passim
Complete Auto Transit v. Brady,
    430 U.S. 274 (1977) ...................................................................................................... 17
Container Corp. v. Franchise Tax Board,
    463 U.S. 159 (1983) ...................................................................................................... 17
Crosby v. Nat’l Foreign Trade Council,
    530 U.S. 363 (2000) ..................................................................................................... 14
Educational Films Corp. of America v. Ward,
    282 U.S. 379 (1931) ...................................................................................................... 18
Empress Casino Joliet Corp. v. Balmoral Racing Club, Inc.,
    651 F.3d 722 (7th Cir. 2011) (en banc) ............................................................................ 7
Expressions Hair Design v. Schneiderman,
    137 S. Ct. 1144 (2017) ................................................................................................... 20
Ford Motor Co. v. Beauchamp,
    308 U.S. 331 (1939) ...................................................................................................... 18
Foster v. Love,
    522 U.S. 67 (1997) ........................................................................................................ 14
Fuller v. Bartlett,
    894 F. Supp. 874 (D. Md. 1995) .................................................................................... 14




                                                                ii
           Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 4 of 26



Cases—continued
Fulton Corp. v. Faulkner,
    516 U.S. 325 (1996) ...................................................................................................... 18
GenOn Mid-Atlantic v. Montgomery County,
    650 F.3d 1021 (4th Cir. 2011) ................................................................................. passim
Georgia Railroad & Banking Co. v. Redwine,
    342 U.S. 299 (1952)........................................................................................................ 9
Graham v. Dupont,
    262 U.S. 234 (1923) .................................................................................................... 7, 8
Gray v. Owens,
    413 F. Supp. 2d 573 (D. Md. 2006)................................................................................ 12
Great Atlantic and Pacific Tea Co. v. Grosjean,
    301 U.S. 412 (1937) .................................................................................................. 2, 18
Gwozdz v. HealthPort Technologies,
    846 F.3d 738 (4th Cir. 2017) ....................................................................................... 8, 9
Hill v. Wallace,
    259 U.S. 44 (1922) .......................................................................................................... 7
Holland v. Florida,
    560 U.S. 631 (2010) ........................................................................................................ 8
Judicial Watch v. Rossotti,
    317 F.3d 401 (4th Cir. 2003) ......................................................................................... 12
Just Puppies, Inc. v. Frosh,
    2021 WL 3233760 (D. Md. Sept. 17, 2021) ................................................................... 13
Labell v. City of Chicago,
    147 N.E.3d 732 (App. Ct. Ill. 2019) ............................................................................... 16
Lawrence County v Lead-Deadwood School Dist. No. 40-1,
    469 US 256 (1985) ....................................................................................................... 14
Levin v. Commerce Energy, Inc.,
    560 U.S. 413 (2010) .................................................................................................. 8, 14
Matthews v. Rodgers,
    284 U.S. 521 (1932) ...................................................................................................... 10
Maxwell v. Bugbee,
    250 U.S. 525 (1919) ...................................................................................................... 18
NFIB v. Sebelius,
    567 U.S. 519 (2012) ........................................................................................................ 6
Nw. States Portland Cement Co. v. Minnesota,
    358 U.S. 450 (1959)................................................................................................. 17, 18
Philip Morris Inc. v. Harshbarger,
    957 F. Supp. 327 (D. Mass. 1997).................................................................................. 20
Ray v. Atlantic Richfield Co.,
    435 U.S. 151 (1978) ...................................................................................................... 14




                                                                iii
            Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 5 of 26



Cases—continued
ReadyLink Healthcare, Inc. v. State Comp. Ins. Fund,
    754 F.3d 754 (9th Cir. 2014) ......................................................................................... 20
Retail Industry Leaders Association v. Fielder,
    475 F.3d 180 (4th Cir. 2007) ................................................................................... passim
Rodriguez de Quijas v. Shearson/American Express, Inc.,
    490 U.S. 477 (1989).................................................................................................... 4, 9
Rosewell v. LaSalle National Bank,
    450 U.S. 503 (1981) .............................................................................................. 8, 9, 10
Shaw v. Delta Air Lines, Inc.,
    463 U.S. 85 (1983) ........................................................................................................ 14
Sprint Communications, Inc. v. Jacobs,
    571 U.S. 69 (2013) ...................................................................................................... 14
Steves & Sons, Inc. v. JELD-WEN, Inc.,
    252 F. Supp. 3d 537 (E.D. Va. 2017) ............................................................................... 5
Texas Entertainment Association v. Hegar,
    10 F.4th 495 (5th Cir. 2021) ........................................................................................... 4
United States v. L.A. Tucker Truck Lines,
    344 U.S. 33 (1952) .......................................................................................................... 9
United States v. South Carolina,
    720 F.3d 518 (4th Cir. 2013) ......................................................................................... 13
Verizon Maryland, Inc. v. Public Service Comm’n of Maryland,
    535 U.S. 635 (2002) ..................................................................................................... 14
Verizon Maryland v. Global NAPS,
    377 F.3d 355 (4th Cir. 2004)......................................................................................... 14
Village of Rosemont v. Priceline.com,
    2011 WL 4913262 (N.D. Ill. Oct. 14, 2011) ................................................................... 16
Ex parte Young,
    209 U.S. 123 (1908) ................................................................................................. 13, 14
Statutes and regulations
28 U.S.C. § 1331 ................................................................................................................. 14
Md. Code Ann., Tax-Gen.
   § 7.5-101(b) ..................................................................................................................... 2
   § 7.5-101(e)(1) ............................................................................................................... 15
   § 7.5-201 ....................................................................................................................... 10
   § 13-602(g)..................................................................................................................... 11
   § 13-701(a) ..................................................................................................................... 11
   § 13-812 ......................................................................................................................... 11
49 Md. Reg. 896 ................................................................................................................... 2
Other Authorities
Webster’s Third New International Dictionary 2120 (2002) ............................................... 16


                                                                  iv
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 6 of 26



                                      INTRODUCTION

       The State’s reply-response brief does not deny that the purpose, form, and function of

the Maryland Digital Advertising Tax Act is to punish its targets for purportedly causing

“social ills” (Reply-Response 32), or that the Act’s monetary exaction therefore qualifies as a

penalty for TIA purposes under the framework approved and applied by the Fourth Circuit in

GenOn Mid-Atlantic v. Montgomery County, 650 F.3d 1021 (4th Cir. 2011), and Retail

Industry Leaders Association v. Fielder, 475 F.3d 180 (4th Cir. 2007) (RILA). The State

instead doubles down on its contention that CIC Services v. IRS, 141 S. Ct. 1582 (2021)—a

case having nothing to do with the tax/fee distinction—wiped away a century’s worth of case

law and established a new rule that all state levies other than fines punishing illegal conduct

are “taxes” within the meaning of the TIA. That is not plausible. None of the State’s other

efforts to avoid pre-enforcement judicial review is persuasive either: The case is ripe, tax

comity does not apply, and plaintiffs have a cause of action to enforce ITFA.

       On the merits, the State’s arguments fall equally flat. Internet-based advertising

services are undeniably “similar” to advertising services furnished “through other means”

under ITFA § 1105(2)(A)(i). The Act also plainly burdens out-of-State economic activity, and

the pass-through prohibition (if construed as the State insists) regulates companies extra-

territorially. The Court accordingly should enter judgment for plaintiffs.

                                        ARGUMENT

I.     THE COURT HAS AUTHORITY TO HEAR THIS CASE

       A.     The controversy is ripe

       The State no longer argues that the case is prudentially unripe. It asserts only that the

case is unripe in the Article III sense because the Comptroller has yet to finalize his imple-

menting regulations. See Reply-Response 2-4.

                                               1
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 7 of 26



       In taking that position, the State ignores the governing standards. To be sure, the

Comptroller must set rules for determining when revenue is earned within Maryland. Md.

Code Ann., Tax-Gen. § 7.5-101(b). But as we noted in the opening-response (at 11), those

rules will affect that Act’s implementation only at the margins and will not alter the

unavoidable fact that some of the plaintiffs’ members will have to pay the exaction in some

amount. See Compl. ¶¶ 17, 19, 21 (providing links to member lists, which include companies

expressly targeted by lawmakers, as alleged at ¶¶ 2, 39). Nor will they alter the Act’s tiered

structure, which punishes extraterritorial conduct on its face.

       The Court need not take our word for it. The Comptroller’s proposed rule implement-

ing the Act was published on October 8, 2021 and will become effective before the end of the

year. See 49 Md. Reg. 896. As the legislature directed, the rule specifies a method for

determining “[t]he amount of digital advertising gross revenue attributable to the State” and

sets paperwork requirements. Id. Nothing in the proposed rule renders plaintiffs’ facial

challenge speculative or hypothetical. That is in contrast with the as-applied challenge in

Great Atlantic and Pacific Tea Co. v. Grosjean, 301 U.S. 412, 429 (1937), which turned on

“mere supposition” as to application of the challenged law. And it is irrelevant that the

Comptroller’s regulations will have the force and effect of law, which we have never denied.

       B.     The TIA does not bar plaintiffs’ challenge to the Act’s assessment

              1.     CIC Services did not silently abrogate a century of settled precedent

       We showed in detail (Opening-Response 21-29) that the Act assesses not a tax, but a

punitive fee within the meaning of the TIA and the cases construing it. First, the assess-

ment’s focus on gross revenues is extraordinarily burdensome and sets it far apart from tradi-

tional taxes, which apply to net income. Second, the exaction is paid by a very narrow and


                                              2
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 8 of 26



intentionally targeted population—especially at the highest rate of assessment, which applies

to only a small handful of singled-out companies. Third, the charge is subject to an express

pass-through prohibition designed to ensure that the targeted companies alone shoulder the

Act’s burden and are unable to spread it among downstream consumers in the market.

Fourth, the proceeds are not deposited in the general treasury but instead in a strictly

segregated fund earmarked to offset the asserted externalities of the targets’ conduct, akin to

a restitution arrangement. Finally, the law’s legislative history refers to the exaction as a

“penalty” and evinces a clear intent to punish. Under contemporary precedents like GenOn

and RILA and their early Supreme Court forebears like Bailey v. Drexel Furniture Co., 259

U.S. 20 (1922), these factors lead inexorably to the conclusion that the Act’s surcharge is a

penalty, and not a “tax” within the meaning of the TIA.

       The State’s reply-response does not dispute this conclusion as such. Its sole rejoinder

is, instead, to insist that CIC Services abrogated the countless TIA precedents that have filled

the Federal Reports since Drexel Furniture. Although neither the holding nor the outcome in

CIC Services turned on the tax/penalty distinction, the State reads the case nonetheless as

authoritatively “clarif[ying] . . . the correct test for distinguishing between a ‘tax’ and a

‘penalty’ for purposes of the AIA and TIA.” Reply-Response 10. According to this supposed

clarification, there is no longer any such thing as a regulatory fee (not even simple use fees),

and every “government charge is a ‘tax’ [under the TIA] unless it is a penalty imposed on

unlawful activity.” Id. at 11-12. The State acknowledges that this reading of CIC Services

would be a fundamental paradigm shift in TIA law, silently abrogating a century’s worth of

uniform court-of-appeals decisions, including GenOn and RILA. Id. at 12. It shrugs off that

observation as inconsequential: “[T]he Supreme Court is under no obligation,” it says, “to


                                               3
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 9 of 26



identify and expressly overrule [the] lower court decisions [that] might be contradicted, in

whole or in part, by [its] analysis.” Id. at 10-11.

       That is too large a pill to swallow. To begin with, whatever the Court said in CIC

Services about the tax/fee distinction “was unquestionably dictum because it was not essen-

tial to [its] disposition of any of the issues” presented for decision. Central Green Co. v.

United States, 531 U.S. 425, 431 (2001). The question in CIC Services was whether an

injunction against a reporting rule was the practical equivalent of an injunction against col-

lection of tax penalties admittedly covered by the AIA, which the IRS imposed for violations

of the rule. CIC Services, 141 S. Ct. at 1586. The Court held not. Because an injunction would

run against taxpayers’ “affirmative reporting obligations,” and any taxes imposed for

violations were “several steps removed,” the suit was not one “to restrain the assessment or

collection of a tax.” Id. at 1591-1592. That was the extent of the Court’s holding.

       Although the Court went on to address peripheral concerns raised by the government,

that portion of the Court’s opinion was not essential to its resolution of the case. And in the

five months since CIC Services was decided, no court has concluded that the Supreme Court

announced the watershed revision to TIA law that the State says it has. Courts instead have

carried on utilizing the same framework applied in GenOn and RILA, just as they did before.

See, e.g., Texas Entertainment Association v. Hegar, 10 F.4th 495, 506-507 (5th Cir. 2021)

(applying the multi-factor TIA framework to conclude that the charge at issue “is a fee, not a

tax, and the TIA does not bar federal court jurisdiction”); cf. Rodriguez de Quijas v.

Shearson/American Express, Inc., 490 U.S. 477, 484 (1989) (admonishing lower courts not

to take it upon themselves to determine when the Supreme Court has overruled its own

precedents).


                                               4
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 10 of 26



       The State insists (at 10) that even if its isolated snippets from CIC Services are dictum,

Supreme Court dictum can bind lower courts. Regardless, this Court is not at liberty to

disregard the clearly controlling Fourth Circuit decisions in GenOn and RILA on the basis of

dictum alone. “[I]f dicta from the Supreme Court is to change [Fourth Circuit] precedent[s], it

is the Supreme Court or the Fourth Circuit that must” say so. Steves & Sons, Inc. v. JELD-

WEN, Inc., 252 F. Supp. 3d 537, 545 n.6 (E.D. Va. 2017). We made this point in our opening-

response brief (at 33), but the State does not address it.

              2.     An exaction that punishes legislatively disapproved conduct is not a
                     tax under the TIA, even if the disapproved conduct is lawful

       The State asserts that an assessment “cannot be deemed a ‘penalty’ for AIA or TIA

purposes” if it “imposes a cost on perfectly legal behavior.” Reply-Response 8. In its view,

only assessments imposed for the commission of unlawful conduct qualify as punitive fees

under the TIA. But as we explained in our opening-response brief (at 31-32), that proposition

was long ago rejected in Drexel Furniture.

       In Drexel Furniture, the Supreme Court held that “there comes a time in the extension

of the penalizing features of [a] so-called tax when it loses its character as such and becomes

a mere penalty.” 259 U.S. at 38. On that basis, the Court concluded that a child labor tax—a

charge assessed against the net income of only those companies employing boys under the

age of 14—was in fact a penalty for asserted “wrongdoing,” rather than a tax. Id. That was

so, the Court said, despite that Congress had not “expressly declare[d] that the employment

within the mentioned ages is illegal.” Id. That forecloses the State’s contrary argument.

       The State notes that Drexel Furniture is a Tax Clause case, not an AIA case (Reply-

Response 13), but that is irrelevant. There is no historical evidence that Congress intended to



                                               5
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 11 of 26



reject judicial constructions of the word “tax” in the Tax-Clause context when enacting the

TIA. This Court must “presume” that when the 75th Congress enacted the TIA in 1937, it

“did so with full cognizance of the [Supreme Court’s] interpretation” of the word “tax” in

Drexel Furniture and, absent contrary indications, intended to incorporate that interpretation

undisturbed. Ankenbrandt v. Richards, 504 U.S. 689, 700 (1992).

       Nor is there a substantive distinction between a “tax” under the AIA and a “tax”

under the Tax Clause in any event. As the Supreme Court explained in NFIB v. Sebelius, 567

U.S. 519 (2012), the only reason a court might reach a different result under the two pro-

visions is that Congress’s invocation of the word “tax” generally controls the AIA question.

Id. at 544. In other words, Congress’s use of the “tax” label is an express direction to federal

courts to dismiss pre-enforcement challenges under the AIA, regardless of the true nature of

the underlying assessment. Id. Thus, the Supreme Court has “applied the [AIA] to statutorily

described ‘taxes’ even where that label was inaccurate.” Id. (emphasis added). That was the

basis for the dismissal in Bailey v. George, 259 U.S. 16 (1922), which concerned the same

assessment as Drexel Furniture. As NFIB recognized, the exaction in George was substan-

tively a punitive fee regardless of whether it was viewed through the Tax Clause lens or the

AIA lens. 567 U.S. at 544. The pre-enforcement challenge in George had to be dismissed

under the AIA only because Congress had affixed an “inaccurate” label to the exaction,

calling it a “tax,” and indicating that the AIA should apply. Id.

       In this respect, Tax Clause cases are even more relevant to the TIA analysis than AIA

cases. Under the Tax Clause (unlike the AIA), legislative labels do not control the outcome,

which turns on constitutional law. Likewise under the TIA: The nomenclature adopted by the

state legislature (a matter of state law) does not control the TIA analysis (a matter of federal


                                               6
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 12 of 26



law). GenOn, 650 F.3d at 1023; see also Empress Casino Joliet Corp. v. Balmoral Racing Club,

Inc., 651 F.3d 722, 729 (7th Cir. 2011) (en banc) (explaining that “a tax might be so totally

punitive in purpose and effect that” it “should be classified as a fine rather than a tax” under

the TIA, despite “nomenclature” suggesting a tax). We made these points in our opening-

response brief (at 31), but the State simply talks past them.1

       The State is also wrong that Graham v. Dupont, 262 U.S. 234 (1923),“refute[s]” our

position. Reply-Response Br. 7. To be sure, the Court confirmed in Graham that Lipke and

Regal Drug involved “penalties” outside the AIA’s scope because the assessments in those

cases were “in the nature of punishment for a criminal offense.” 262 U.S. at 257. It also

concluded that the assessment in Graham, in particular, could not be analogized to such a

penalty. But it reached that conclusion only after observing that a different case, Hill v.

Wallace, 259 U.S. 44 (1922), should “be classed with Lipke, as [involving] a penalty in the

form of a tax.” Id. at 258 (full case citation omitted). That is crucial because Hill concerned

an assessment levied on lawful conduct—namely, the sale of grain. Id. at 257. By confirming

that Hill, like Lipke, involved “a penalty in the form of a tax,” Graham strongly supports our

position rather than the State’s.

       If that were not enough, the Fourth Circuit’s decision in GenOn dictates the same

conclusion. There, the court held that an exaction on lawful greenhouse gas emissions fell

outside the TIA’s scope because, in substance, it was a “punitive fee.” GenOn, 650 F.3d at

1024-1025. Despite the State’s request, the Court may not disregard Drexel Furniture,


1
    The State contends (Reply-Response 6) that because ITFA describes an exaction within
its scope as a “tax,” this indicates Congress meant for the TIA to apply. We explained in our
opening-response brief (at 41-42) why that is not so, including that ITFA expressly defines
“tax” to mean something different from the meaning the word has been given under the TIA.

                                               7
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 13 of 26



Graham, or GenOn—all of which straightforwardly hold that a punitive exaction need not

punish unlawful conduct to fall outside the definition of a “tax.”2

              3.      A multiplicity of state refund actions spanning many years would not
                      be an “efficient” alternative to this single pre-enforcement challenge

       We explained in our opening-response brief (at 33-36) that hundreds of individual

refund suits spanning many years, all pending while the Act’s burdensome fee is being

exacted, would not be an “efficient” state-court alternative to this single, pre-enforcement,

federal-court challenge. This is an inherently case-specific contention that turns on the

nature of the parties and claims here; a remedy that is efficient in one case under one set of

circumstances may be inefficient in another case, under different circumstances. That follows

because the TIA “has its roots in equity practice,” meaning that general equity principles,

although not firmly binding, are at least “instructive on whether a state remedy is ‘plain,

speedy and efficient.’” Rosewell v. LaSalle National Bank, 450 U.S. 503, 525 & n.33 (1981).

Equity practice has always resisted “absolute” rules, working “on a case-by-case basis”

instead. Holland v. Florida, 560 U.S. 631, 649-650 (2010).

       In response, the State points to Gwozdz v. HealthPort Technologies, 846 F.3d 738 (4th

Cir. 2017), but it badly over-reads that case. Gwozdz did not address, and thus does not

control, the question of whether hundreds of individual refund suits spanning many years

would be an “efficient” remedy under the TIA. It involved a single person’s claim for a

refund of $23, and the alternative to the plaintiff’s federal suit was a single, personal refund

2
   The State urges (at 25-26) that the tax comity doctrine bars this action, as well. But it
does not disagree that if the Act doesn’t assess a “tax” under the TIA, then tax comity does
not apply either. It does say that tax comity is “more embracive” than the TIA, but the only
context in which the Supreme Court has ever applied that observation is in the context of a
request for an injunction to impose a tax rather than restrain it. See Levin v. Commerce
Energy, Inc., 560 U.S. 413 (2010). That is not this case.

                                               8
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 14 of 26



action before the Comptroller. 846 F.3d at 740. The Fourth Circuit’s unchallenged and fact-

bound assumption that “Maryland has established” a “plain, speedy and efficient remedy”

for a single taxpayer with a single claim within the meaning of the TIA (id.) cannot be taken

to foreclose challenges in all cases to the efficiency of Maryland’s procedure.

       The State is equally wrong in its more specific assertion (Reply-Response 16) that our

multiplicity-of-suits argument has “already [been] rejected by the Fourth Circuit in Gwozdz”

because that case involved a putative class action. Again, the plaintiff in Gwozdz did not raise

an efficiency argument, the district court did not certify a class, and the Fourth Circuit did

not consider the putative class-based nature of the plaintiff’s case in rejecting his TIA

arguments. An issue neither “raised in briefs or argument nor discussed in the opinion of the

Court” cannot be taken as “a binding precedent on th[e] point.” United States v. L.A. Tucker

Truck Lines, 344 U.S. 33, 38 (1952).

       Aside from Gwozdz, the State expresses doubt (at 18-19) that Rosewell and Georgia

Railroad & Banking Co. v. Redwine, 342 U.S. 299 (1952), “remain[] a potential basis for

establishing that a State’s remedy is not ‘efficient.’” It is well established, however, that

“[i]f a precedent of [the Supreme] Court has direct application in a case, yet appears to rest on

reasons rejected in some other line of decisions, the [lower courts] should follow the case

which directly controls, leaving to [the Supreme] Court the prerogative of overruling its own

decisions.” Rodriguez de Quijas,490 U.S. at 484. Here, Redwine held that a multiplicity of

suits is inefficient, and Rosewell restated and confirmed that holding. Neither case has been

overruled by the Supreme Court, and they accordingly control the outcome here.

       The State observes (at 17) that Rosewell upheld Illinois’s refund procedure and asserts

that we “have not identified any feature of Maryland’s scheme that would make it less ‘plain,


                                               9
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 15 of 26



speedy and efficient’ than the Illinois scheme.” But the only issue in Rosewell was the ques-

tion whether Illinois’s scheme was sufficiently “speedy” (450 U.S. at 522-524), which is not

an element of Maryland’s scheme we have challenged. And unlike this case, Rosewell did not

involve a state-court remedy that entailed a sprawling multiplicity of suits.3

       2. We explained (Opening-Response 35-36) that it weighs further in favor of

immediate federal judicial review that the Act’s exaction is tremendously burdensome, and

that those targeted by the law will have to pay massive amounts of money up front, perhaps

forcing some to withdraw from the Maryland market altogether. The State challenges both

the premise of the argument (that companies will have to pay) and the conclusion (that

payment will be so burdensome as to make the administrative scheme inefficient).

       First, the State takes the startling position that plaintiffs’ members do not need to pay

to bring their challenges in state court. They may avoid paying the levy, the State says

(at 17), by awaiting a notice of assessment under Section 13-410, “choos[ing] not to pay,”

and filing an appeal immediately to the Tax Court under Section 13-510(a)(1). But there are

just two scenarios in which a company subject to the Act would receive a Section 13-410

notice without first paying the assessment: It would have to either (1) file a return as required

by Section 7.5-201, unlawfully refuse to remit payment with the return, and invite a Section

13-302 audit that culminates in a Section 13-410 notice; or otherwise (2) refuse to file a


3
    Matthews v. Rodgers, 284 U.S. 521 (1932), held that the multiplicity-of-suits rationale
“does not extend to cases where there are numerous parties plaintiff or defendant, and the
issues between them and the adverse party are not necessarily identical.” Id. at 530. The
circumstance envisioned in Matthews is one in which multiple suits involving multiple parties
and multiple disparate claims are commenced together or consolidated. That does not
describe this case, which involves just four plaintiffs suiting “to enforce the [uniform] rights
of [their] members.” RILA, 475 F.3d at 186. And because the challenges here are facial, the
claims and issues would be identical in all of the follow-on suits.

                                               10
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 16 of 26



return at all, flout the Comptroller’s subsequent Section 13-303 demand to file a return and

payment, and await a Section 13-410 notice reflecting an estimated assessment calculated

pursuant to Section 13-402. In either case, a company would have to violate the law before

being able to bring a pre-payment appeal under Section 13-510(a)(1), exposing itself to

criminal sanctions including imprisonment (Tax-Gen. § 13-602(g)), assessments of further

fines and interest (id. §§ 13-602(a), 13-701(a)), and a risk that its in-State assets would be

seized by the government (id. § 13-812). That is not “not the kind of thing an ordinary person

risks, even to contest the most burdensome” charge (CIC Services, 141 S. Ct. at 11592),

necessitating payment followed by myriad refund actions.

       The State also brushes aside our contentions concerning the burdensome nature of the

exaction as mere “conclusory assertions,” rendering them implausible and “disentitle[d] . . .

to the presumption of truth.” See Reply-Response 22-23. But in saying that, the State ignores

the U.S. Trade Representative’s conclusion that a French law just like the Maryland Act here

is “highly unusual” in that it is “unusually burdensome,” so much so as to reflect a “penaliz-

ing” “purpose.” Compl. ¶ 64 (quoting USTR Report at 1, 10, 31, 49-50, 55, 65-67). It also

disregards our demonstration (Opening-Response 21-22) that the exaction’s focus on gross

revenue means that it would apply to even unprofitable companies, driving them deeper into

the red. And any companies with gross margins below the rate of assessment will see their

profits wiped out entirely. This is neither implausible nor speculative—it is simply how the

Act works, on its face. These observations lend powerful additional support to the notion that

scores or hundreds of successive, years-long lawsuits in state court would not be an efficient

alternative to this single pre-enforcement action. And it makes no difference that the Comp-

troller promises to exercise his grace to stay cases “by other taxpayers raising the same


                                             11
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 17 of 26



issues, if there is a significant possibility that [a] pending appeal . . . will resolve those

matters.” Reply-Response 21. That would not obviate the need to file a multitude of adminis-

trative and judicial actions, and it would not save companies that are subject to the Act’s

enormous exaction from having to pay profit-erasing sums annually for years on end.

       C.     The TIA does not bar plaintiffs’ challenge to the pass-through provision

       The State takes the puzzling position (Reply-Response 23-24) that, if the Court were

to hold that the Act assesses a tax within the meaning of the TIA, it would have to dismiss

the entire suit, including plaintiffs’ challenge to the analytically distinct pass-through

prohibition. That is not how the TIA works.

       For starters, the Fourth Circuit has previously affirmed the dismissal under the AIA of

some but not all claims in a suit. In Judicial Watch v. Rossotti, 317 F.3d 401 (4th Cir. 2003),

for example, the plaintiff sought “an injunction against [the] defendants from proceeding

with [a tax] audit” and included “claims for relief in connection with [related] FOIA

requests.” Id. at 403. The district court dismissed the tax-audit claims on AIA grounds but

“did not resolve the FOIA claims.” Id. at 404. On interlocutory appeal, the Fourth Circuit

affirmed the AIA dismissal of the tax-related claims and remanded for further proceedings on

the plaintiff’s separate FOIA claims. Id. at 404-413. Similarly, in Gray v. Owens, 413 F.

Supp. 2d 573 (D. Md. 2006), this Court resolved the plaintiff’s Takings Clause claim on its

merits and dismissed a separate tax-refund claim on TIA grounds.

       No other approach would make sense. If the State were correct that the TIA applies to

whole actions, rather than claims, it would mean that state defendants could bootstrap, using

the TIA to obtain dismissals of claims having nothing to do with injunctions against the

collection of taxes. And procedurally, it would accomplish nothing of substance: The plaintiff


                                              12
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 18 of 26



could refile the same suit the day following the dismissal, simply stripped of the claims that

the Court concluded were barred by the TIA. That makes little sense.

       The State says (at 24) that our challenge to the pass-through provision is “intertwined

with” and “entirely contingent upon” the constitutional challenges to the underlying assess-

ment. That is simply wrong. The State itself characterizes the pass-through prohibition as an

analytically separate regulation of payer’s subsequent conduct. Opening Br. 49. The Court

can and should invalidate the provision for the reasons that we have given (Opening-

Response 56-58), wholly apart from the legality of the underlying assessment. And if it were

to do so, even the State implicitly acknowledges (Opening Br. 49) that it would not be an

injunction against the collection of a tax. See also BellSouth Telecommunications, Inc. v.

Farris, 542 F.3d 499, 501 (6th Cir. 2008).

       D.     ITFA is privately enforceable under Ex parte Young and Section 1983

       The State is wrong to assert (at 26-30) that there is no federal right of action to seek

an injunction against the Act under ITFA’s preemption clause. As the Supreme Court held in

Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320 (2015), “if an individual claims

federal law immunizes him from state regulation, the court may issue an injunction upon

finding the state regulatory actions preempted.” Id. at 326. That follows from federal courts’

longstanding power to enjoin “state officers who are violating, or planning to violate, federal

law.” Id. (twice citing Ex parte Young, 209 U.S. 123 (1908)). A preemption claim raised in

pre-enforcement review (as here) is “precisely the cause of action that the Supreme Court

recognized in Ex parte Young.” Just Puppies, Inc. v. Frosh, 2021 WL 3233760 at *26 (D. Md.

Sept. 17, 2021); see also United States v. South Carolina, 720 F.3d 518, 525-526 (4th Cir.

2013) (noting extensive precedents “that have allowed private parties to seek injunctive


                                              13
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 19 of 26



relief from state statutes allegedly preempted by federal law”).4

       The Fourth Circuit has rejected the State’s contrary argument. In Verizon Maryland v.

Global NAPS, 377 F.3d 355 (4th Cir. 2004), the plaintiff sought injunctive relief against a

state agency’s order, claiming it was preempted by federal law. The defendants (seeking to

enforce the order) asserted that they were entitled to dismissal because the statute did not

provide a cause of action. Id. at 368. The Fourth Circuit rebuffed that argument: So long as a

court has jurisdiction under 28 U.S.C. § 1331, “it can reach the merits” of a preemption claim

“even though the relevant statute does not explicitly or implicitly provide for a cause of

action.” Id. at 369; see also Verizon Maryland v. Public Service Comm’n of Md., 535 U.S. 635,

642 (2002). This Court, too, has rejected the contention that a plaintiff “can proceed under

Ex parte Young only if [it] establish[es] a cause of action under the relevant statute.”

CareFirst, Inc. v. Taylor, 235 F. Supp. 3d 724, 740 (D. Md. 2017).

       Citing Levin, the State rejoins (at 27-28) that Ex parte Young does not apply in light of

the TIA and federal-state comity. But we already have shown that neither the TIA nor tax

comity applies at all, let alone with sufficient force to overcome such clearly settled law. See

supra at 2-8 & n.3. The State’s resort to comity and federalism principles is especially out of

place here, given that ITFA contains a strongly-worded express preemption clause, which

evidences Congress’s clear intent to displace contrary state law. What the State really seeks


4
    Federal courts routinely entertain requests for injunctions against preempted state laws
on this ground. See, e.g., Sprint Communications, Inc. v. Jacobs, 571 U.S. 69 (2013); Verizon
Maryland, Inc. v. Public Service Comm’n of Md., 535 U.S. 635, 642 (2002); Crosby v. Nat’l
Foreign Trade Council, 530 U.S. 363, 388 (2000); Foster v. Love, 522 U.S. 67 (1997);
Lawrence County v Lead-Deadwood School Dist. No. 40-1, 469 US 256, 259 n.6 (1985); Shaw
v. Delta Air Lines, Inc., 463 U.S. 85 (1983); Ray v. Atlantic Richfield Co., 435 U.S. 151
(1978); AES Sparrows Point LNG, LLC v. Smith, 470 F. Supp. 2d 586, 593 (D. Md. 2007);
Fuller v. Bartlett, 894 F. Supp. 874, 877 (D. Md. 1995).

                                              14
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 20 of 26



on this score is a presumption against preemption—but as we showed (Opening-Response 39-

40), there is no such presumption in circumstances like these.

II.    PLAINTIFFS ARE ENTITLED TO JUDGMENT ON THE MERITS

       A.     The Act is preempted by ITFA

       The Act is manifestly preempted by ITFA because it imposes a “tax” within the

meaning of that statute, and the tax is assessed against “the sale . . . or delivery of . . .

services, or information” over the internet (ITFA § 1105(3)), but not against “similar”

services “accomplished through other means” (ITFA § 1105(2)(A)(i)).

       The State responds (at 30-32) that internet-based advertising is not, in fact, similar to

advertising by other methods within the meaning of ITFA because internet advertising firms

are “literally and continuously reading computer users’ minds” and engaging in “round-the-

clock and instantaneous data mining and exploitation of user personal information.”

       The State is mistaking the impetus for the Act with how it operates. As we have said,

the Act undoubtedly reflects a legislative purpose to penalize large internet advertising com-

panies for perceived “wrongdoing” (Drexel Furniture, 259 U.S. at 38), including the

supposed wrongdoing identified in the State’s latest brief. But the conduct about which the

State complains—and which, in its view, sets internet advertisers apart—is not the activity

that the Act taxes. It taxes “advertisement services on a digital interface,” meaning banner

advertisements, interstitial advertisements, and other advertisements viewed over the

internet (Tax-Gen. § 7.5-101(e)(1)), regardless of whether they are accompanied by data

collection or are a part of a supposedly two-sided barter exchange. The only question for

ITFA purposes is whether that service—delivery of an ad on a website—is similar to delivery

of an ad by other means, such as in newspapers and magazines, or on television shows.


                                              15
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 21 of 26



       It undeniably is. The word “similar” means “having characteristics in common” and

“alike in substance.” Similar, Webster’s Third New International Dictionary 2120 (2002).

From a consumer’s perspective, an ad for blue jeans appearing at the top of a website plainly

has “characteristics in common” with a substantively identical ad appearing at the top of a

printed page in a magazine. That is equally so from the advertiser’s perspective—purchasing

the right to display an ad on a website is “alike in substance” to, and has “characteristics in

common” with, purchasing the right to display the same ad in a magazine.

       Even if it were relevant to the ITFA analysis that internet-based advertising services

are often accompanied by certain forms of data collection, the same is true of print adver-

tising. Many print advertisements for supermarkets, for example, offer coupons linked with

loyalty programs, which are used to track consumers’ buying habits in fine detail. Other

times, advertisers will convey different contact information (phone numbers or email ad-

dresses) in different versions of the same advertisement placed in different geographic areas

or publications, to track response rates by location and medium—a strategy called “unique

point of contact.” In other cases, print advertisements will direct consumers to websites and

in that way are no less capable of collecting data than if the advertisement had been served

over the internet. Data collection has been ancillary to advertising for decades, long before

the internet. Mere improvements in the efficiency of data collection do not make digital

advertising unalike in substance from print advertising.5


5
    This case is unlike Labell v. City of Chicago, 147 N.E.3d 732, 736 (App. Ct. Ill.2019),
which involved a tax on “private” internet streaming services but not “public” digital enter-
tainment services, including digital arcade machines. Nor is it like the facially neutral hotel
occupancy taxes in a Village of Rosemont v. Priceline.com, 2011 WL 4913262 (N.D. Ill. Oct.
14, 2011), or Baltimore v. Priceline.com, 2012 WL 3043062 (D. Md. July 24, 2012), neither
of which expressly singled out digital services for special assessments.

                                              16
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 22 of 26



       B.     The Act violates the dormant Commerce Clause and Due Process Clause

       The Act discriminates against interstate commerce by imposing progressively greater

liability for in-state economic activity based on a company’s out-of-State activity, and by

giving favorable treatment to in-State firms with smaller out-of-state presences.

       In response, the State offers up (at 34-35) a distinction between the “subject” and

“measure” of a tax. Its position is that a State may lawfully establish rates on taxable

transactions by reference to the value of objects that the State may not tax directly. Whatever

merit that view may once have had, it is no longer the law. See Nw. States Portland Cement

Co. v. Minnesota, 358 U.S. 450, 458 (1959) (indicating that the doctrine identified in the

State’s brief has been “overruled” and “no longer fully represent[s] the present state of the

law,” and thus rejecting Georgia’s authority to tax net income from extraterritorial economic

activity of corporations owning property or doing business within the State).

       To be sure, “at one time, [the Supreme] Court distinguished between the [measure]

and the subject matter of [a] tax when assessing the validity of the tax under the Commerce

Clause.” Aloha Airlines v. Director of Taxation of Hawaii, 464 U.S. 7, 14 n.9 (1983) (em-

phasis added). But as recognized in Complete Auto Transit v. Brady, 430 U.S. 274 (1977),

today it is no longer “the formal language of the tax statute but rather its practical effect”

that guides the dormant Commerce Clause analysis. Id. at 279. And under that approach, to

survive challenge “under the Commerce Clause,” “an apportionment formula . . . [must] not

result in discrimination against interstate or foreign commerce,” period. Container Corp. v.

Franchise Tax Board, 463 U.S. 159, 170 (1983); accord Complete Auto, 430 U.S. at 279 &

n.8 (citing, among others, Nw. States Portland Cement). The Act does not survive that

straightforward inquiry. See Opening-Response 50-52.


                                              17
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 23 of 26



       The stale cases on which the State relies would not support its position even if they

were still good law. At most, they recognize that “a nondiscriminatory tax upon corporate

franchises is valid, notwithstanding the inclusion of tax exempt property or income in the

measure of it.” Educational Films Corp. of America v. Ward, 282 U.S. 379, 392 (1931)

(emphasis added).6 Here, the Act discriminates against out-of-state businesses facially and in

practical effect. The Comptroller’s bizarre, counter-factual hypothetical concerning a multi-

billion dollar company operating solely within Maryland cannot obscure this basic point: A

company will be taxed at higher rates for in-state economic activity if it engages in a greater

level of out-of-state activity. It is thus “a tax on the ‘privilege’ of engaging in interstate

commerce.” Nw. States Portland Cement, 358 U.S. at 458. And a tax that grows with the

increasing “degree that [a company] participate[s] in interstate commerce” is one that

necessarily “favors domestic corporations over their foreign competitors” and “discourage[s]

. . . interstate commerce,” in violation of the Commerce Clause. Fulton Corp. v. Faulkner, 516

U.S. 325, 333 (1996)). The State does not and cannot refute this basic point.

       We further explained (Opening-Response 53-55) that the Act violates the Due Process

Clause by imposing sanctions on economic activity taking place outside Maryland’s borders.

The State does not tackle this claim head-on; it says (at 36) only that “the Act’s plain

language shows the General Assembly’s intent to implement a taxing scheme with attributes

of both fair attribution and fair apportionment.” A conclusory observation concerning the

legislature’s expressed intent does not show that the legislature succeeded in achieving its


6
    Two of the State’s cases—Maxwell v. Bugbee, 250 U.S. 525 (1919) and Great Atlantic &
Pacific Tea Co. v. Grosjean, 301 U.S. 412 (1937)—did not resolve Commerce Clause chal-
lenges. And Ford Motor Co. v. Beauchamp, 308 U.S. 331 (1939), did not discuss discrimina-
tion in approving a single-factor apportionment formula for a franchise tax.

                                              18
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 24 of 26



objective. The Act punishes companies solely for having greater “global” economic activity.

It thus punishes extraterritorial activity and fails the external-consistency test.

       C.     The pass-through prohibition is unconstitutional

       1. According to the State, the pass-through prohibition “regulates the taxpayer’s

ability to engage in conduct that directly imposes on a customer the cost of the digital ad tax

paid by the taxpayer.” Opening Br. 49. We explained that, insofar as the prohibition controls

prices charged in transactions taking place entirely outside of Maryland, it is unconstitutional

on extraterritoriality grounds. Opening-Response 58-59. We explained further that the pro-

hibition cannot be saved from facial invalidation by invalidating it only as applied to out-of-

state transactions. To do so would mean that that only in-State purchasers of digital

advertising services would be protected by the pass-through prohibition, and that the

incidence of the charge would fall entirely on out-of-State purchasers, violating the dormant

Commerce Clause’s antidiscrimination principle. Id. at 59.

       The State’s response is a head-scratcher—it says (at 37) that, “[b]ecause the digital ad

tax itself applies only to digital advertising in the State, there is no extraterritorial or

discriminatory impact in the Act’s prohibition against passing on the cost of the tax to

purchasers of in-state digital advertising services.” But the incidence of the tax itself is

irrelevant. The bottom line, as to which the State offers no response at all, is that the pass-

through provision, construed as a regulation of conduct, is a price-control statute that applies

to transactions taking place entirely in other States and other countries.

       2. We showed also that, construed as a regulation of speech, the pass-through pro-

hibition violates the First Amendment. Opening-Response 56-58. The State rejoins that “it

has never been deemed an abridgment of freedom of speech or press to make a course of


                                              19
        Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 25 of 26



conduct illegal merely because the conduct was in part initiated, evidenced, or carried out by

means of language.” Reply-Response 37 (quoting Expressions Hair Design v. Schneiderman,

137 S. Ct. 1144, 1151 (2017)). But that assumes away the dispute by once again charac-

terizing the pass-through prohibition as a regulation of conduct.

       If construed as a regulation of speech, the pass-through prohibition does not in fact

forbid the conduct of passing the Act’s charge on to purchasers of advertising services; it

forbids only the identification of the pass-through on a bill or invoice. Read in this way, the

pass-through prohibition is “a ban on core political speech,” including statements on invoices

“announcing who bears political responsibility” for the additional charge. BellSouth Tele-

communications, Inc. v. Farris, 542 F.3d 499, 504-505 (6th Cir. 2008). We cited BellSouth

for this proposition in the opening-response brief (at 56-57), but the State does not join issue

on this point. Either way, the pass-through prohibition must be stricken.

       D.     The Court can and should enter judgment now

       The State finally argues that the Court should not enter judgment for plaintiffs until

after discovery has taken place. But “[p]reemption is almost always a legal question, the

resolution of which is rarely aided by development of a more complete factual record.”

ReadyLink Healthcare, Inc. v. State Comp Ins. Fund, 754 F.3d 754, 761-762 (9th Cir. 2014)

(quotation marks omitted); accord Philip Morris Inc. v. Harshbarger, 957 F. Supp. 327, 329

(D. Mass. 1997) (the preemptive effect of a federal statute upon a state statute is “a legal

question able to be answered without discovery”). The same holds true for our facial consti-

tutional challenges, which turn on the Act’s plain terms, not on any questions of historical

fact. That said, we agree that if the Court does not dismiss (as it should not) and also does not

grant an early partial summary judgment (as it should), discovery would be warranted.


                                               20
       Case 1:21-cv-00410-DKC Document 47 Filed 10/13/21 Page 26 of 26



Dated: October 13, 2021                 Respectfully submitted,

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